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EXHIBIT "B"

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STATE OF TEXAS §
§
COUNTY OF TRAVIS §

Affidavit of Dawn Glasgow

Before me, the undersigned notary, on this day personally appeared Dawn
Glasgow, a person whose identity is known to me. After I administered an oath to her,

upon her cath, she said:

L. “My name is Dawn Glasgow. I am capable of making this affidavit. The
facts stated in this affidavit are within my personal knowledge and are true and correct.

2, I am the administrative executive for Austin Montessori School (“AMS”),
which is located in Austin, Texas. I have held this position for the past ten years.

3. As the administrative executive for AMS, I am familiar with the AMS’s
payroll reports for the years 2009 and 2010, which are attached hereto as Exhibit A. The
reports are kept by AMS in the regular course of business, and it was the regular course
of business of AMS for an employee or representative of AMS, with knowledge of the act,
event, condition, opinion, or diagnosis that was recorded, to make the reports or to
transmit the information to be included in the reports. The reports were made at or near
the tire or reasonably soon after the act, event, condition, opinion, or diagnosis that was
recorded. The reports attached to this affidavit are the original or exact duplicates of the
original.

4, The reports attached as Exhibit A list all of the individuals employed by
AMS in 2009 and 2010. Because the reports are voluminous, for convenience, I have
created spreadsheets that summarize the reports. They are attached hereto as Exhibit
B. Based on my recollection, as well as the reports and spreadsheets, AMS did not
employ 50 or more employees for each working day during each of 20 or more calendar
workweeks in either 2009 or 2010, In fact, as reflected in the reports and spreadsheets,
AMS did not employ 50 or more employees for each working day during any workweek in
either 2009 or 2010.

5. With regard to each individual listed in the attached reports and
spreadsheets, with the exception of Kjersti Wheeler and Judy Johnson, AMS exercised
control over the details of their work.

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6, In 2009 and 2010, at various times, the following individuals provided
certain services to AMS as independent contractors:

Barbara Weiss (fundraising event manager)
Calvin Carter Ganitor)
Charlotte Kroger (Montessori consultant}
Cleotilde Maldonado Ganitor)
Donald Porter UT support)
Francisca Tejeda (janitor)
Jerry Pippins (building contractor for improvement projects that required
bids from subcontractors)
Jerry Pippins General Co. (building contractor for improvement projects
that required bids from subcontractors)
Leslie Grove (licensed therapist)
Miguel Reyes Qanitor)
Patricia Oriti (Montessori consultant)
Paula McDermott (Spanish consultant)
. Lucinda Castillo (shuttle bus driver)
Sheilah Murphy (special lesson instructor)

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7. The individuals listed in Paragraph 6 were not AMS’s employees because
AMS did not control, nor did it have the right to control, the details of their work.
Moreover, these individuals accumulated no annual leave or other employee benefits from
AMS, and AMS did not pay their social security tax. Also, with regard to the janitors, Mr.
Carter, Ms. Maldonado, Ms. Tejeda, and Mr. Reyes, while AMS provided cleaning supplies
and tools for their use, they sometimes used their own cleaning supplies because they felt
they were more effective. While AMS preferred that they use the cleaning supplies
provided to them by AMS, as long as their own cleaning supplies were not harmful to
children—which they were not—they were allowed to use them. AMS reported to the IRS
all payments to these independent contractors, in 2009 and 2010, using Form 1099. See
Exhibit C, attached. The Form 1099s, which are attached hereto as Exhibit C, are the
only Form 1099s AMS issued in 2009 and 2010.

8, In 2009 and 2010, the following individuals provided music lessons to those
AMS students whose parents coordinated and paid for such lessons:

Stephanie Hunt
Leah Zeger
Brooks Whitmcre
Jenny Chang
Debra Groves
Lani Hamilten
Megan Canney

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9. The individuals listed in Paragraph 8 were neither AMS employees nor
independent contractors. AMS did not control, nor did it have the right to control, the
details of their work. AMS did not pay them to provide music lessons to its students.”

Cy te

Dawn Glasgow ~

Sworn to and subscribed before me by Dawn Glasgow on this 3ist day of July,

2012.

Notary Public in and for the State of Texas

(pee LOIS O'BRIEN

hs NOTARY PUBLK STATE OF TEXAS
o ’ COMMISION EXPIRES:
ye 10-28-2016

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